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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   BONDIT LLC, a California limited liability Case No. 2:19-cv-09832-SB-RAO
     company,
12                                              STIPULATED FINAL JUDGMENT
              Plaintiff,                        AND ORDER
13        v.
14   HALLOWS MOVIE INC., a Nova Scotia
     corporation; HALLOWS MOVIE, LLC, a
15   Puerto Rico limited liability company;
     HALLOWS MOVIE LLC, a Louisiana
16   limited liability company; UTOPIA FILM
     L.L.C., a Puerto Rico limited liability
17   company, CROSSFACE LLC, a Louisiana
     limited liability company; LET IT PLAY
18   LLC, a Connecticut limited liability
     company; ALEX A. GINZBURG, an
19   individual; DONGKWAN “TONY” LEE, an
     individual; HYUN KIM, an individual;    Complaint Filed: November 15, 2019
20   JORGE ALBERTO MARTINEZ-DAVILA,
     an individual,
21                                           Pretrial Conf:   October 8, 2021
                   Defendants.               Trial Date:      October 18, 2021
22
23
24        Presently before the Court is the Stipulation for Entry of Final Judgment
25   between Plaintiff BONDIT LLC (Plaintiff or BondIt) and Defendants HALLOWS
26   MOVIE INC., a Nova Scotia corporation, HALLOWS MOVIE, LLC, a Puerto Rico
27   limited liability company, HALLOWS MOVIE LLC, a Louisiana limited liability
28   company, CROSSFACE LLC, a Louisiana limited liability company, LET IT PLAY

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 1   LLC, a Connecticut limited liability company, ALEX A. GINZBURG, an individual,
 2   and DONGKWAN “TONY” LEE, an individual, for Stipulated Judgment on the
 3   Second, Third and Fourth Claims for Relief in the First Amended Complaint. The
 4   parties have settled and Defendants Hallows Movie Inc., Hallows Movie, LLC,
 5   Hallows Movie LLC, Crossface LLC, Let It Play LLC, Alex A. Ginzburg, and
 6   Dongkwan "Tony" Lee consent to the entry of the Stipulated Judgment attached as
 7   Exhibit “1” to the Stipulation for Entry of Final Judgment as the final Judgment in this
 8   action.
 9         As stipulated by the parties, and good cause appearing, IT IS HEREBY
10   ORDERED that:
11         1.    Plaintiff BONDIT LLC recover from Defendants HALLOWS MOVIE
12   INC., a Nova Scotia corporation, HALLOWS MOVIE, LLC, a Puerto Rico limited
13   liability company, HALLOWS MOVIE LLC, a Louisiana limited liability company,
14   CROSSFACE LLC, a Louisiana limited liability company, LET IT PLAY LLC, a
15   Connecticut limited liability company, ALEX A. GINZBURG, an individual, and
16   DONGKWAN “TONY” LEE, an individual, and each of them, jointly and severally,
17   in the amount of $1,650,000.00 (the “Judgment Amount”) on the Second, Third and
18   Fourth Claims for Relief in the First Amended Complaint, along with post-judgment
19   interest at the statutory rate of 10% per annum on the principal amount of
20   $1,650,000.00, commencing as of the date of entry of Judgment; and
21         2.    The Court does not retain jurisdiction of this matter for any purpose.
22
23   IT IS SO ORDERED.
24
25   Dated: October 6, 2021
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27                                                    Stanley Blumenfeld, Jr.
28                                                   United States District Judge

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